              Case 06-20133-NLW                            Doc 1        Filed 10/18/06 Entered 10/18/06 10:47:27                                           Desc Main
                                                                        Document     Page 1 of 6
Official Form 1 (10/06)
                                        United States Bankruptcy Court
                                                         District of New Jersey                                                                      Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
  Roman, Michelle


All Other Names used by the Debtor in the last 8 years                                           All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                      (include married, maiden, and trade names):




Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all): Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all):
  xxx-xx-9808
Street Address of Debtor (No. and Street, City, and State):                                      Street Address of Joint Debtor (No. and Street, City, and State):
  66 Crescent Drive
  New Providence, NJ
                                                                                ZIP Code                                                                                    ZIP Code
                                                                            07974-1718
County of Residence or of the Principal Place of Business:                                       County of Residence or of the Principal Place of Business:
  Union
Mailing Address of Debtor (if different from street address):                                    Mailing Address of Joint Debtor (if different from street address):


                                                                                ZIP Code                                                                                    ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                  Type of Debtor                                   Nature of Business                                  Chapter of Bankruptcy Code Under Which
               (Form of Organization)                                 (Check one box)                                     the Petition is Filed (Check one box)
                  (Check one box)                            Health Care Business                           Chapter 7
                                                             Single Asset Real Estate as defined            Chapter 9                        Chapter 15 Petition for Recognition
    Individual (includes Joint Debtors)                      in 11 U.S.C. § 101 (51B)                                                        of a Foreign Main Proceeding
    See Exhibit D on page 2 of this form.                                                                   Chapter 11
                                                             Railroad
                                                                                                            Chapter 12                       Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                       Stockbroker
                                                                                                            Chapter 13                       of a Foreign Nonmain Proceeding
                                                             Commodity Broker
    Partnership
                                                             Clearing Bank
    Other (If debtor is not one of the above entities,       Other                                                                      Nature of Debts
    check this box and state type of entity below.)                                                                                      (Check one box)
                                                                   Tax-Exempt Entity
                                                                  (Check box, if applicable)                Debts are primarily consumer debts,                 Debts are primarily
                                                             Debtor is a tax-exempt organization            defined in 11 U.S.C. § 101(8) as                    business debts.
                                                             under Title 26 of the United States            "incurred by an individual primarily for
                                                             Code (the Internal Revenue Code).              a personal, family, or household purpose."

                               Filing Fee (Check one box)                                        Check one box:                   Chapter 11 Debtors
    Full Filing Fee attached                                                                            Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                        Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must                 Check if:
    attach signed application for the court's consideration certifying that the debtor
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                    Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
                                                                                                        to insiders or affiliates) are less than $2 million.
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 Check all applicable boxes:
    attach signed application for the court's consideration. See Official Form 3B.                      A plan is being filed with this petition.
                                                                                                        Acceptances of the plan were solicited prepetition from one or more
                                                                                                        classes of creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
    Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
    there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors
        1-           50-         100-         200-        1000-     5001-       10,001-        25,001-   100,001-     OVER
        49           99          199          999         5,000    10,000       25,000         50,000    100,000     100,000


Estimated Assets
        $0 to                      $10,001 to                $100,001 to              $1,000,001 to             More than
        $10,000                    $100,000                  $1 million               $100 million              $100 million

Estimated Liabilities
        $0 to                      $50,001 to                $100,001 to              $1,000,001 to             More than
        $50,000                    $100,000                  $1 million               $100 million              $100 million
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                                                                Document     Page 2 of 6
Official Form 1 (10/06)                                                                                                                                   FORM B1, Page 2
                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Roman, Michelle
(This page must be completed and filed in every case)
                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                     Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                             Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                      Exhibit A                                                                                Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X /s/ Virginia Fortunato                                  October 18, 2006
                                                                                           Signature of Attorney for Debtor(s)                     (Date)
                                                                                             Virginia Fortunato

                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
      Yes, and Exhibit C is attached and made a part of this petition.
      No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                         Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                              (Check all applicable boxes)
                   Landlord has a judgment aganist the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                      (Name of landlord that obtained judgment)




                                      (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be
                   permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for
                   possession was entered, and
                   Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
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Official Form 1 (10/06)                                                                                                                          FORM B1, Page 3
                                                                                  Name of Debtor(s):
Voluntary Petition                                                                  Roman, Michelle
(This page must be completed and filed in every case)
                                                                             Signatures
                Signature(s) of Debtor(s) (Individual/Joint)                                         Signature of a Foreign Representative
                                                                                    I declare under penalty of perjury that the information provided in this petition
     I declare under penalty of perjury that the information provided in            is true and correct, that I am the foreign representative of a debtor in a foreign
     this petition is true and correct.                                             proceeding, and that I am authorized to file this petition.
     [If petitioner is an individual whose debts are primarily consumer             (Check only one box.)
     debts and has chosen to file under chapter 7] I am aware that I may
                                                                                       I request relief in accordance with chapter 15 of title 11. United States Code.
     proceed under chapter 7, 11, 12, or 13 of title 11, United States                 Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     Code, understand the relief available under each such chapter, and
     choose to proceed under chapter 7.                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     [If no attorney represents me and no bankruptcy petition preparer                 of title 11 specified in this petition. A certified copy of the order granting
     signs the petition] I have obtained and read the notice required                  recognition of the foreign main proceeding is attached.
     by 11 U.S.C. §342(b).
     I request relief in accordance with the chapter of title 11, United
                                                                                  X
                                                                                      Signature of Foreign Representative
     States Code, specified in this petition.

 X /s/ Michelle Roman                                                                 Printed Name of Foreign Representative
     Signature of Debtor Michelle Roman
                                                                                      Date
 X
     Signature of Joint Debtor                                                            Signature of Non-Attorney Bankruptcy Petition Preparer

                                                                                      I declare under penalty of perjury that: (1) I am a bankruptcy
     Telephone Number (If not represented by attorney)                                petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this
                                                                                      document for compensation and have provided the debtor with a
     October 18, 2006                                                                 copy of this document and the notices and information required
     Date                                                                             under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
                                                                                      guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
                            Signature of Attorney                                     setting a maximum fee for services chargeable by bankruptcy
                                                                                      petition preparers, I have given the debtor notice of the maximum
 X /s/ Virginia Fortunato                                                             amount before preparing any document for filing for a debtor or
     Signature of Attorney for Debtor(s)                                              accepting any fee from the debtor, as required in that section.
                                                                                      Official Form 19B is attached.
      Virginia Fortunato
     Printed Name of Attorney for Debtor(s)
                                                                                      Printed Name and title, if any, of Bankruptcy Petition Preparer
      Mark Goldman, PC
     Firm Name
      55 Washington Street                                                            Social Security number (If the bankrutpcy petition preparer is not
      Ste. 603                                                                        an individual, state the Social Security number of the officer,
      East Orange, NJ 07017                                                           principal, responsible person or partner of the bankruptcy petition
                                                                                      preparer.)(Required by 11 U.S.C. § 110.)
     Address


      973-677-9000 Fax: 973-676-0253
     Telephone Number
                                                                                      Address
     October 18, 2006
     Date
                                                                                  X
               Signature of Debtor (Corporation/Partnership)
                                                                                      Date
     I declare under penalty of perjury that the information provided in
     this petition is true and correct, and that I have been authorized to            Signature of Bankruptcy Petition Preparer or officer, principal,
     file this petition on behalf of the debtor.                                      responsible person,or partner whose Social Security number is
     The debtor requests relief in accordance with the chapter of title 11,           provided above.
     United States Code, specified in this petition.
                                                                                      Names and Social Security numbers of all other individuals who
                                                                                      prepared or assisted in preparing this document unless the
 X                                                                                    bankruptcy petition preparer is not an individual:
     Signature of Authorized Individual

     Printed Name of Authorized Individual
                                                                                      If more than one person prepared this document, attach additional
                                                                                      sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual
                                                                                      A bankruptcy petition preparer’s failure to comply with the
                                                                                      provisions of title 11 and the Federal Rules of Bankruptcy
     Date
                                                                                      Procedure may result in fines or imprisonment or both 11 U.S.C.
                                                                                      §110; 18 U.S.C. §156.
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Official Form 1, Exhibit D (10/06)
                                                                  United States Bankruptcy Court
                                                                                District of New Jersey
 In re       Michelle Roman                                                                              Case No.
                                                                                             Debtor(s)   Chapter    13




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

         n 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

             o 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 15 days after your bankruptcy case is filed.
             o 3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Must be accompanied by a motion for determination by the court.][Summarize exigent circumstances
here.]
       If the court is satisfied with the reasons stated in your motion, it will send you an order approving
your request. You must still obtain the credit counseling briefing within the first 30 days after you file
your bankruptcy case and promptly file a certificate from the agency that provided the briefing, together
with a copy of any debt management plan developed through the agency. Any extension of the 30-day
deadline can be granted only for cause and is limited to a maximum of 15 days. A motion for extension
must be filed within the 30-day period. Failure to fulfill these requirements may result in dismissal of
your case. If the court is not satisfied with your reasons for filing your bankruptcy case without first
receiving a credit counseling briefing, your case may be dismissed.
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Official Form 1, Exh. D (10/06) - Cont.

       o 4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
               o Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
               o Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
               o Active military duty in a military combat zone.

              o 5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:                              /s/ Michelle Roman
                                                   Michelle Roman
 Date:         October 18, 2006




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                        Option One Mortgage Corporation
                        6501 Irvine Center Drive
                        Irvine, CA 92618-2118


                        Overlook Hospital
                        c/o Celentano, Stadtmauer, et als
                        POB 2594
                        Clifton, NJ 07015-2594


                        Overlook Hospital
                        c/o Celentano, Stadtmauer, et als
                        POB 2594
                        Clifton, NJ 07015-2594


                        Wells Fargo
                        c/o Fein, Such & Shepard, PC
                        7 Century Drive
                        Parsippany, NJ 07054
